                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )        Case No. 3:22-CR-00282
GLEN CASADA and                              )        District Judge Eli J. Richardson
CADE COTHREN                                 )
                                             )
       Defendants.                           )

              DEFENDANTS’ JOINT MOTION TO COMPEL DISCLOSURE
            OF IDENTITIES OF GOVERNMENT’S CONFIDENTIAL SOURCES

       Come now Defendants Glen Casada and Cade Cothren, by and through undersigned counsel,

and move this Court to compel the government to disclose the identities of the Conﬁdential Human

Sources (“CHSes”), including those identiﬁed in discovery documents as CHSes 1, 2, and 3, and the

CHSes who participated in the recorded statements of and/or about Defendants and their alleged co-

conspirator, Robin Smith, produced by the government in discovery.

       In support of this Motion, Defendants are ﬁling a memorandum of law contemporaneously

herewith.

                             CERTIFICATE OF COMPLIANCE
       Undersigned counsel hereby certiﬁes that, via correspondence on February 4, February 10,

and February 18, counsel for Mr. Cothren conferred with counsel for the United States in a good-

faith eﬀort to resolve by agreement the subject matter of this Motion and was unable to reach an

agreement.




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                                         Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing motion was electronically ﬁled with the

Clerk on February 25, 2025, and service was made upon the following via CM/ECF and/or by

email.

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